    Case 2:20-cv-03852-DG-JMW Document 33 Filed 08/17/21 Page 1 of 1 PageID #: 162


UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BEFORE: JAMES M. WICKS, U.S. MAGISTRATE JUDGE                                  DATE: 8/17/2021
                                                                               TIME: 11:00 AM
                                                                         ☐ SEALED PROCEEDING

                     CIVIL CAUSE FOR STATUS CONFERENCE (Video)
                  CASE: 2:20-cv-03852-DG-JMW, AA Medical P.C. v. Almansoori

APPEARANCES:

       For Plaintiff:   David Antwork

       For Defendant: Adam Kleinberg

Court Reporter/FTR: 10:56-11:04 (video)

THE FOLLOWING RULINGS WERE MADE:

☒      Status Conference held.

☒      The parties advised the Court of the status of this case.

☒      Other: The Court addressed two issues, namely the briefing schedule for Defendant’s request to
       stay discovery and the initial scheduling order. As to the motion to stay, the Court set the
       following briefing schedule: Defendant shall serve on Plaintiff its motion by end of day today,
       8/17/2021; Defendant shall serve his reply on or before 8/31/2021; if it intends on serving a
       reply, Defendant shall do so on or before 9/10/2021. As to the initial scheduling order, the Court
       set a discovery schedule which will be posted in a separate order and will stay in place pending
       resolution of Defendant’s motion to stay. A Status conference has been scheduled for January 10,
       2022 at 11:30 AM via the Court’s AT&T Conference line. The parties should dial 1-866-434-
       5269 and enter access code 9025281# at the prompt.

       A Pretrial conference has been scheduled for May 31, 2022 at 10:00 AM in courtroom 1020. If
       the trial judge requires one, a joint proposed pretrial order in compliance with that judge’s
       requirements and signed by counsel for each party must be received by the undersigned 5
       business days prior to this conference.

       THE PARTIES ARE REMINDED that audio or video recording of proceedings by any
       party other than the Court is strictly prohibited by Local Civil Rule 1.8. Violation of this
       rule may result in sanctions, including removal of court issued media credentials, restricted
       entry to future hearings, denial of entry to future hearings, or any other sanctions deemed
       appropriate by the Court.


                                                     SO ORDERED
                                                      /s/James M. Wicks
                                                     JAMES M. WICKS
                                                     United States Magistrate Judge
